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   8                        UNITED STATES DISTRICT COURT

   9                       CENTRAL DISTRICT OF CALIFORNIA

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  11    JEFF BAOLIANG ZHANG,                  Case No. CV 18-9361 GW (PVC)

  12                     Petitioner,

  13         v.                                          JUDGMENT

  14    STU SHERMAN, Warden,

  15                     Respondent.

  16

  17        Pursuant to the Court’s Order Accepting Findings, Conclusions

  18   and Recommendations of United States Magistrate Judge,

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  20        IT IS HEREBY ADJUDGED that the above-captioned action is

  21   dismissed with prejudice.

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  23   DATED: January 11, 2021

  24                                           GEORGE H. WU
                                               UNITED STATES DISTRICT JUDGE
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